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 9
                             UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
12    JOSEPH PAUL, JR., an individual,       Case No.: 2:18-CV-3847
13
                   Plaintiff,                COMPLAINT FOR DAMAGES
14
                                             AND INJUNCTIVE RELIEF FOR
15                                           VIOLATIONS OF:
                       v.
16                                           1.) THE FAIR DEBT COLLECTION
                                                 PRACTICES ACT, 15 U.S.C. §
17                                               1692, ET SEQ.;
18    HYUNDAI CAPITAL AMERICA                2.) THE ROSENTHAL FAIR DEBT
                                                 COLLECTION PRACTICES
19    d/b/a HYUNDAI MOTOR                        ACT, CAL. CIV. CODE § 1788,
      FINANCE; and SRA                           ET SEQ.;
20    ASSOCIATES, LLC.,                      3.) THE CALIFORNIA
21                                               CONSUMER CREDIT
                                                 REPORTING AGENCIES ACT,
22                 Defendants.                   CAL. CIV. CODE § 1785, ET
                                                 SEQ.
23
24
                                             JURY TRIAL DEMANDED
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      COMPLAINT                                                    PAGE 1 OF 15
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 1                                     INTRODUCTION
 2    1.   The United States Congress has found abundant evidence of the use of
 3         abusive, deceptive, and unfair debt collection practices by many debt
 4         collectors, and has determined that abusive debt collection practices contribute
 5         to the number of personal bankruptcies, to marital instability, to the loss of
 6         jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
 7         Collection Practices Act, (“FDCPA”) 15 U.S.C. § 1692 et seq., to eliminate
 8         abusive debt collection practices by debt collectors, to insure that those debt
 9         collectors who refrain from using abusive debt collection practices are not
10         competitively disadvantaged, and to promote consistent state action to protect
11         consumers against debt collection abuses.
12    2.   The California legislature has determined that the banking and credit system
13         and grantors of credit to consumers are dependent upon the collection of just
14         and owing debts and that unfair or deceptive collection practices undermine
15         the public confidence that is essential to the continued functioning of the
16         banking and credit system and sound extensions of credit to consumers. The
17         Legislature enacted the Rosenthal Fair Debt Collection Practices Act,
18         (“RFDCPA”) Cal. Civ. Code § 1788 et seq., to ensure that debt collectors
19         exercise this responsibility with fairness, honesty, and due regard for the
20         debtor’s rights and prohibit debt collectors from engaging in unfair or
21         deceptive acts and practices.
22    3.   Plaintiff, JOSEPH PAUL, JR., (“Plaintiff”) brings this lawsuit to challenge the
23         actions of Defendants, HYUNDAI CAPITAL AMERICA d/b/a HYUNDAI
24         MOTOR FINANCE, (“HYUNDAI”) and SRA ASSOCIATES, LLC.,
25         (“SRA”) (collectively as “Defendants”), with regard to Defendants’ unlawful
26         debt collection and credit reporting practices.
27    4.   As a result, Defendants’ actions described herein has caused damage to
28         Plaintiff’s credit score, credit worthiness, credit standing, and credit capacity.

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 1         The continued reporting of erroneous, inaccurate, and derogatory information
 2         has negatively impacted Plaintiff’s attempts to secure credit. As a result of
 3         Defendant(s)’ conduct, Plaintiff was denied a mortgage and extensions of
 4         credit. In addition, Plaintiff has suffered damages by mental and emotional
 5         pain and anguish, and humiliation and embarrassment. Plaintiff has further
 6         spent several hours and suffered pecuniary loss in attempting to correct
 7         Defendants’ inaccurate and derogatory reporting, without success.
 8    5.   Plaintiff alleges as follows upon personal knowledge as to Plaintiff’s own acts
 9         and experiences, and, as to all other matters, upon information and belief,
10         including investigation conducted by Plaintiff’s attorney. While many
11         violations are described below with specificity, this Complaint alleges
12         violations of the statutes cited in their entirety.
13    6.   Unless otherwise states, all references to “Defendant” shall refer to all
14         Defendants named in this action. Unless otherwise stated, Plaintiff alleges
15         that any violations by Defendants were knowing and intentional, and that
16         Defendants did not maintain procedures reasonably adapted to avoid such
17         violations.
18    7.   Unless otherwise indicated, the use of any Defendants’ name in this
19         Complaint includes all agents, employees, officers, members, directors, heirs,
20         successors, assigns, principals, trustees, sureties, subrogees, representatives,
21         and insurers of Defendants.
22    8.   Unless otherwise stated, all the conduct engaged in by Defendants occurred in
23         the State of California.
24    9.   At all times relevant, Plaintiff was an individual residing within the State of
25         California.
26                                JURISDICTION AND VENUE
27    10. This action arises out of Defendants’ violations of: (i) the Fair Debt Collection
28         Practices Act, (“FDCPA”) 15 U.S.C. § 1692, et seq.; (ii) the Rosenthal Fair

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 1        Debt Collection Practices Act, (“RFDCPA”) Cal. Civ. Code § 1788, et seq.;
 2        and (iii) The California Consumer Credit Reporting Agencies Act,
 3        (“CCRAA”) Cal. Civ. Code § 1785, et seq.
 4    11. Jurisdiction of this Court therefore arises pursuant to 28 U.S.C. § 1331 and 28
 5        U.S.C. § 1367 for supplemental state law claims.
 6    12. The Court has personal jurisdiction over Defendants as Defendants conduct
 7        business within the State of California, and have purposefully availed
 8        themselves of the laws and markets of the State of California and this district.
 9    13. Venue is proper in the United States District Court, Central District of
10        California as: (i) Plaintiff resides in the County of Los Angeles, State of
11        California, which is within this judicial district; and (ii) the conduct
12        complained of herein occurred within this judicial district.
13                                        PARTIES
14    14. Plaintiff, JOSEPH PAUL, JR., (“Plaintiff”) is a natural person who resides in
15        the City of Los Angeles, County of Los Angeles, State of California, from
16        whom a debt collector sought to collect a consumer debt which was due and
17        owing or alleged to be due and owing from Plaintiff, and is a “debtor” as that
18        term is defined by Cal. Civ. Code § 1788.2(h). In addition, Plaintiff is a
19        “consumer” as that term is defined by 15 U.S.C. § 1692a(3) and Cal. Civ.
20        Code § 1785.31.
21    15. Defendant, HYUNDAI CAPITAL AMERICA d/b/a HYUNDAI MOTOR
22        FINANCE, (“HYUNDAI”) is a California corporation.
23    16. HYUNDAI, in the ordinary course of business, regularly, on behalf of
24        themselves and others, engage in “debt collection” as that term is defined by
25        Cal. Civ. Code § 1788.2(b), and is therefore a “debt collector” as that term is
26        defined by Cal. Civ. Code § 1788.2(c).
27    17. HYUNDAI is a partnership, corporation, association, or other entity, and is
28        therefore a “person” as that term is defined by Cal. Civ. Code § 1785.3(j).

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 1    18. Defendant, SRA ASSOCIATES, LLC., (“SRA”) is a New Jersey limited
 2          liability company.
 3    19. SRA in the ordinary course of business, uses U.S. Mail and/or the
 4          instrumentalities of interstate commerce to carry out their principle business
 5          purpose which is the collection of debts.
 6    20. SRA, in the ordinary course of business, regularly, on behalf of himself and
 7          others, engages in “debt collection” as that term is defined by Cal. Civ. Code
 8          § 1788.2(b), and is therefore a “debt collector” as that term is defined by Cal.
 9          Civ. Code § 1788.2(c) and 15 U.S.C. § 1692a(6). Such debt collection is
10          conducted upon debts or alleged debts that are in default at they time they
11          were acquired by and/or assigned to SRA.
12    21. This case involves money, property or their equivalent, due or owing or
13          alleged to be due or owing from a natural person by reason of a consumer
14          credit transaction. As such, this action arises out of a “consumer debt” and
15          “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f)
16          and a “debt” as the term is defined by 15 U.S.C. § 1692a(5).
17    22. The causes of action stated herein also pertain to Plaintiff’s “consumer credit
18          report” as that term is defined by Cal. Civ. Code § 1785.3(c), in that
19          inaccurate credit information was furnished by Defendant(s) to a “consumer
20          credit reporting agency,” as that term is defined by Cal. Civ. Code §
21          1785.3(d), regarding specific transactions and/or experiences pertaining to
22          Plaintiff and Plaintiff’s credit worthiness, credit standing, and credit capacity.
23          Such credit information was used or was expected to be used, or collected in
24          whole or in part, for the purposes of serving as a factor in establishing
25          Plaintiff’s eligibility for, among other things, credit to be used primarily for
26          personal, family, household and/or employment purposes.
27    ///
28    ///


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 1                               FACTUAL ALLEGATIONS
 2                                  AGAINST HYUNDAI
 3    23. Sometime prior to July of 2017, Plaintiff is alleged to have entered into a
 4        Motor Vehicle Lease Agreement with HYUNDAI, Account No. 1408906312,
 5        (the “Lease”).
 6    24. At the time Plaintiff entered into the Lease, Plaintiff purchased additional
 7        vehicle care insurance from HYUNDAI, which included coverage of up to
 8        $5,000 with $0 deductible, (the “Insurance”).
 9    25. In or around August of 2017, Plaintiff’s Lease with HYUNDAI ended and
10        Plaintiff returned the vehicle.
11    26. On or about July 26, 2017, HYUNDAI received a final payment in the amount
12        of $137.91 from Plaintiff for the Lease. HYUNDAI sent a letter to Plaintiff
13        acknowledging that the account was “paid in full and closed” as of July 26,
14        2017.
15    27. Nonetheless in or around November of 2017, HYUNDAI sent Plaintiff a
16        collection letter demanding $515.00 on the Lease. Specifically, HYUNDAI
17        demanded $515.00 for the assessment of the condition of the vehicle.
18    28. Plaintiff had purchased the Insurance coverage with HYUNDAI for such
19        losses. Therefore, even if the “assessment” was not part of the Lease, any
20        costs under $5,000 would have been covered by the Insurance.
21    29. During two separate phone calls, HYUNDAI confirmed Plaintiff did not owe
22        any balance. Specifically, HYUNDAI confirmed that the Lease had been
23        “settled in full”, that the $515.00 for the assessment had been covered by
24        HYUNDAI, as the insurance policy holder, and that the account had a “$0
25        balance” with no outstanding payments or fees owed by Plaintiff.
26    30. HYUNDAI confirmed both verbally and in writing that on July 26, 2017,
27        there was a $0 balance on the Lease, and that the account was “paid in full and
28

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 1        closed”.
 2    31. HYUNDAI therefore demanded payment on an account that had been “paid in
 3        full and closed” months prior and/or was covered in full by the Insurance.
 4        Simply put, HYUNDAI demanded payment on a debt which Plaintiff does not
 5        owe.
 6    32. Through this conduct, HYUNDAI violated: (i) 15 U.S.C. § 1692e by making
 7        false, deceptive, and misleading representations in connection with the
 8        collection of a debt; (ii) 15 U.S.C. § 1692e(2) by making false representations
 9        regarding the character, amount or legal status of a debt; (iii) 15 U.S.C. §
10        1692e(10) by using false representations or deceptive means to collect or
11        attempt to collect a debt; (iv) 15 U.S.C. § 1692f by using unfair or
12        unconscionable means to collect or attempt to collect a debt; and (v) 15
13        U.S.C. § 1692f(1) by attempting to collect an amount not expressly authorized
14        by the agreement creating the debt. These sections are incorporated into the
15        RFDCPA through Cal. Civ. Code § 1788.17; thus, HYUNDAI also violated
16        Cal. Civ. Code § 1788.17.
17    33. HYUNDAI confirmed both verbally and in writing that on July 26, 2017,
18        there was a $0 balance on the Lease, and that the account was “paid in full and
19        closed”.
20    34. Nonetheless, HYUNDAI went on to furnish incomplete and/or inaccurate
21        information to credit reporting agencies regarding the Lease.
22    35. Beginning in November of 2017, and continuing through the date of this
23        filing, HYUNDAI reported inaccurate information regarding the Lease to
24        “consumer credit reporting agencies” as that term is defined by Cal. Civ. Code
25        § 1785.3(d).
26    36. HYUNDAI furnished information on Plaintiff’s credit report that the Lease
27        was: (i) “30 days late” in November of 2017; (ii) “60 days late” in December
28        of 2017; and (iii) “90 days late” in December of 2017.

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 1    37. This information is false, incomplete, and/or inaccurate as: (i) Plaintiff did
 2        owe any amount on the Lease; (ii) Plaintiff was not 30 days late on Lease
 3        payments in November of 2017; (iii) Plaintiff was not 60 days late on Lease
 4        payments in December of 2017; (iv) Plaintiff was not 90 days late on Lease
 5        payments in December of 2017; and (v) the Lease was paid in full and closed
 6        in July of 2017.
 7    38. HYUNDAI knew, or should have known, the information they furnished was
 8        false, incomplete, and/or inaccurate as: (i) HYUNDAI sent a letter to Plaintiff
 9        verifying the Lease was “paid in full and closed” as of July 26, 2017; and (ii)
10        HYUNDAI verified verbally, on at least two occasions, that Plaintiff owed
11        “$0” on the account with no outstanding payments or fees owed.
12    39. Through this conduct, HYUNDAI violated Cal. Civ. Code § 1785.25(a) by
13        furnishing information to consumer credit reporting agencies that HYUNDAI
14        knew or should have known was inaccurate and/or incomplete.
15                                FACTUAL ALLEGATIONS
16                           AGAINST HYUNDAI AND SRA
17    40. Plaintiff incorporates by reference all of the above paragraphs of this
18        Complaint as though fully stated herein.
19    41. Despite Plaintiff having paid the Lease in full and owing no balance, the
20        account was placed with SRA for the purposes of debt collection under the
21        direction and control of HYUNDAI.
22    42. On or about November 22, 2017, SRA, under the direction and control of
23        HYUNDAI, sent Plaintiff a letter demanding payment in the amount of
24        $225.00 on the Lease.
25    43. SRA and HYUNDAI therefore demanded payment on a debt that had been
26        “paid in full” and/or covered by Insurance.
27    44. Through this conduct, SRA and HYUNDAI violated: (i) 15 U.S.C. § 1692e by
28        making false, deceptive, and misleading representations in connection with

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 1        the collection of a debt; (ii) 15 U.S.C. § 1692e(2) by making false
 2        representations regarding the character, amount or legal status of a debt; (iii)
 3        15 U.S.C. § 1692e(10) by using false representations or deceptive means to
 4        collect or attempt to collect a debt; (iv) 15 U.S.C. § 1692f by using unfair or
 5        unconscionable means to collect or attempt to collect a debt; and (v) 15
 6        U.S.C. § 1692f(1) by attempting to collect an amount not expressly authorized
 7        by the agreement creating the debt. These sections are incorporated into the
 8        RFDCPA through Cal. Civ. Code § 1788.17; thus, SRA and HYUNDAI also
 9        violated Cal. Civ. Code § 1788.17.
10    45. Plaintiff contacted SRA and HYUNDAI by phone to dispute the validity of
11        the $225.00 balance.
12    46. During one or more of these phone calls, Defendants offered to “Settle”
13        Plaintiff’s alleged Lease balance for $180.00.
14    47. Defendants therefore again demanded payment on a debt that had been “paid
15        in full” and/or covered by Insurance.
16    48. Through this conduct, Defendants violated: (i) 15 U.S.C. § 1692e by making
17        false, deceptive, and misleading representations in connection with the
18        collection of a debt; (ii) 15 U.S.C. § 1692e(2) by making false representations
19        regarding the character, amount or legal status of a debt; (iii) 15 U.S.C. §
20        1692e(10) by using false representations or deceptive means to collect or
21        attempt to collect a debt; (iv) 15 U.S.C. § 1692f by using unfair or
22        unconscionable means to collect or attempt to collect a debt; and (v) 15
23        U.S.C. § 1692f(1) by attempting to collect an amount not expressly authorized
24        by the agreement creating the debt. These sections are incorporated into the
25        RFDCPA through Cal. Civ. Code § 1788.17; thus, Defendants also violated
26        Cal. Civ. Code § 1788.17.
27    49. Desperate to fix the damage to his credit score, Plaintiff paid HYUNDAI
28        $180.00 on or about December 30, 2017 to settle the alleged Debt.

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 1   50. On or about January 16, 2018, SRA, on behalf of and under the direction and
 2       control of HYUNDAI, sent Plaintiff a “Release of Debt” letter, confirming
 3       that the Lease was “satisfied”, and that there was a “$0 amount due.”
 4   51. Nonetheless, HYUNDAI went on to furnish incomplete and/or inaccurate
 5       information to credit reporting agencies regarding the Lease.
 6   52. Beginning in November of 2017, and continuing through the date of this
 7       filing, HYUNDAI reported inaccurate information regarding the Lease to
 8       “consumer credit reporting agencies” as that term is defined by Cal. Civ. Code
 9       § 1785.3(d). Specifically, HYUNDAI furnished information on Plaintiff’s
10       credit report that the Lease: (i) had a “Balance” of $45; (ii) had a current
11       payment status of “120-149 days late”; (iii) had a remark of “balance owing”;
12       (iv) was “30 days late” in November of 2017; (v) was “60 days late” in
13       December of 2017; and (vi) was “90 days late” in December of 2017.
14   53. This information is false, incomplete, and/or inaccurate as (i) Plaintiff did owe
15       any amount to HYUNDAI on the Lease; (ii) Plaintiff was not 120-149 days
16       late on Lease payments; (iii) Plaintiff was not 30 days late on Lease payments
17       in November of 2017; (iv) Plaintiff was not 60 days late on Lease payments in
18       December of 2017; (v) Plaintiff was not 90 days late on Lease payments in
19       December of 2017; (vi) the Lease was paid in full and closed in July of 2017;
20       and (vii) the Lease was settled and “satisfied” in December of 2017.
21   54. HYUNDAI knew, or should have known, the information they furnished was
22       false, incomplete, and/or inaccurate as: (i) HYUNDAI sent a letter to Plaintiff
23       verifying the Lease was “paid in full and closed” as of July 26, 2017; (ii)
24       HYUNDAI verified verbally, on at least two occasions, that Plaintiff owed
25       “$0” on the account with no outstanding payments or fees owed; (iii)
26       Defendants offered a settlement of the Lease in the amount of $180, which
27       Plaintiff paid on December 22, 2018; and (iv) on January 16, 2018, SRA, on
28

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 1       behalf of and under the direction and control of HYUNDAI, sent Plaintiff a
 2       letter confirming that the Lease was “satisfied” and there was a “$0” balance.
 3   55. Through this conduct, HYUNDAI violated Cal. Civ. Code § 1785.25(a) by
 4       furnishing information to consumer credit reporting agencies that HYUNDAI
 5       knew or should have known was inaccurate and/or incomplete.
 6   56. As a result, Defendants’ actions described herein has caused damage to
 7       Plaintiff’s credit score, credit worthiness, credit standing, and credit capacity.
 8       The continued reporting of erroneous, inaccurate, and derogatory information
 9       has negatively impacted Plaintiff’s attempts to secure credit. As a result of
10       Defendant(s)’ conduct, Plaintiff was denied a home mortgage, and several
11       extensions of credit. Plaintiff has suffered roughly a 200 point drop in his
12       credit scores with all three major credit reporting agencies. In addition,
13       Plaintiff has suffered damages by mental and emotional pain and anguish, and
14       humiliation and embarrassment. Plaintiff has further spent several hours and
15       suffered pecuniary loss in attempting to correct Defendants’ inaccurate and
16       derogatory reporting, without success.
17                  FIRST CAUSE OF ACTION FOR VIOLATIONS OF
18                  THE FAIR DEBT COLLECTION PRACTICES ACT
19                       (“FDCPA”) 15 U.S.C. § 1692 ET SEQ.
20                                    [AGAINST SRA]
21   57. Plaintiff incorporates by reference all of the above paragraphs of this
22       Complaint as though fully stated herein.
23   58. The foregoing acts and omissions constitute numerous and multiple violations
24       of the FDCPA, including but not limited to each and every one of the above-
25       cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
26   59. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
27       any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
28       the amount of up to $1,000.00 from each Defendant pursuant to 15 U.S.C. §


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 1         1692k(a)(2); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §
 2         1692k(a)(3).
 3                  SECOND CAUSE OF ACTION FOR VIOLATIONS OF
 4            THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
 5                   (“RFDCPA”) CAL. CIV. CODE § 1788, ET SEQ.
 6                             [AGAINST HYUNDAI AND SRA]
 7   60. Plaintiff incorporates by reference all of the above paragraphs of this
 8         Complaint as though fully stated herein.
 9   61. The foregoing acts and omissions constitute numerous and multiple violations
10         of the RFDCPA.
11   62. Cal. Civ. Code § 1788.17 incorporates the FDCPA (15 U.S.C. § 1692b
12         through 1692j). Therefore, each of stated violation of the FDCPA also
13         constitutes a violation of the RFDCPA (Cal. Civ. Code § 1788.17).
14   63. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
15         any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
16         damages for a knowing or willful violation in the amount of up to $1,000.00,
17         from each Defendant pursuant to Cal. Civ. Code § 1788.30(b); and reasonable
18         attorneys fees and costs pursuant to Cal. Civ. Code § 1788.30(c).
19                 THIRD CAUSE OF ACTION FOR VIOLATIONS OF
20    THE CALIFORNIA CONSUMER CREDIT REPORTING AGENCIES ACT
21                  (“CCRAA”) CAL. CIV. CODE § 1785, ET SEQ.
22                                 [AGAINST HYUNDAI]
23   64.   Plaintiff incorporates by reference all of the above paragraphs of this
24         Complaint as though fully stated herein.
25   65.   The foregoing acts and omissions constitute numerous and multiple
26         violations of the CCRAA.
27   66.   In the regular course of its business operations, Defendant routinely furnishes
28         information to consumer credit reporting agencies pertaining to transactions


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 1           between Defendant and consumers, so as to provide information to a
 2           consumers’ credit worthiness, credit standing, and credit capacity.
 3   67.     The causes of action stated herein pertain to Plaintiff’s “consumer credit
 4           report” as that term is defined by Cal. Civ. Code § 1785.3(c), in that
 5           inaccurate credit information was furnished by Defendant to a “consumer
 6           credit reporting agency,” as that term is defined by Cal. Civ. Code §
 7           1785.3(d), regarding specific transactions and/or experiences pertaining to
 8           Plaintiff and Plaintiff’s credit worthiness, credit standing, and credit capacity.
 9           Such credit information was used or was expected to be used, or collected in
10           whole or in part, for the purposes of serving as a factor in establishing
11           Plaintiff’s eligibility for, among other things, credit to be used primarily for
12           personal, family, household and employment purposes.
13   68.     Because Defendant is a partnership, corporation, association, or other entity,
14           and is therefore a “person” as that term is defined by Cal. Civ. Code §
15           1785.3(j), Defendant is and always was obligated to not furnish information
16           on a specific transaction or experience to any consumer credit reporting
17           agency if Defendant knew or should have known that the information is
18           incomplete or inaccurate, as required by Cal. Civ. Code § 1785.25(a).
19   69.     The forgoing conduct caused Plaintiff damages including, but not limited to,
20           loss of credit worthiness, credit standing, credit capacity and denial of credit,
21           including loss of housing.
22                                   PRAYER FOR RELIEF
23   WHEREFORE, Plaintiff prays that judgment be entered against Defendants
24   according to such causes of action stated against each Defendant, as follows:
25         • An award of actual damages, in an amount to be determined at trial,
26            pursuant to 15 U.S.C. § 1692k(a)(1);
27         • An award of statutory damages of $1,000.00, from each Defendant,
28            pursuant to 15 U.S.C. § 1692k(a)(2)(A);


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 1         • An award of costs of litigation and reasonable attorney’s fees, pursuant to
 2            15 U.S.C. § 1692k(a)(3);
 3         • An award of actual damages, in an amount to be determined at trial,
 4            pursuant to Cal. Civ. Code § 1788.30(a);
 5         • An award of statutory damages of $1,000.00, from each Defendant,
 6            pursuant to Cal. Civ. Code § 1788.30(b);
 7         • An award of costs of litigation and reasonable attorney’s fees, pursuant to
 8            Cal. Civ. Code § 1788.30(c);
 9         • An award of actual damages, in an amount to be determined at trial,
10            pursuant to Cal. Civ. Code § 1785.31(a) and 1785.31(a)(2)(A);
11         • An award of statutory damages of $5,000.00 per violation, pursuant to Cal.
12            Civ. Code § 1785.31(a)(2)(B);
13         • An award of costs of litigation and reasonable attorney’s fees, pursuant to
14            Cal. Civ. Code § 1785.31(a)(1) and 1785.31(a)(2)(A);
15         • That the Court preliminarily and permanently enjoin Defendants from
16            engaging in the unlawful debt collection and credit reporting practices
17            stated herein; and
18         • Any and all other relief that this Court deems just and proper.
19
20   Dated: May 8, 2018                             Respectfully submitted,
21
                                                    SINNETT LAW, APC.
22
23                                                  BY: /S/ CRYSTAL T. INNABI
                                                    CRYSTAL T. INNABI, ESQ.
24
                                                    ATTORNEY FOR PLAINTIFF
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     COMPLAINT                                                            PAGE 14 OF 15
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 1                                    TRIAL BY JURY
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     70.   Pursuant to the Seventh Amendment to the Constitution of the United States
 3
           of America, Plaintiff is entitled to, and demands, a trial by jury.
 4
 5
     Dated: May 8, 2018                            Respectfully submitted,
 6
 7                                                 SINNETT LAW, APC.
 8
                                                   BY: /S/ CRYSTAL T. INNABI
 9                                                 CRYSTAL T. INNABI, ESQ.
10                                                 ATTORNEY FOR PLAINTIFF

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     COMPLAINT                                                             PAGE 15 OF 15
